                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                               Plaintiff,

               v.                                             Case No. 06-CR-264

BALDOMERO CASTILLO and
MICHAEL CORNELIUS,

                               Defendants.


                          RECOMMENDATIONS AND ORDER


       On October 17, 2006 the grand jury returned a two count indictment alleging in count one

that Michael Cornelius (“Cornelius”) possessed with intent to distribute more than five grams of

crack cocaine in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B) and

Title 18, United States Code, Section 2, and in count two that Baldomero Castillo (“Castillo”)

possessed with intent to distribute more than five grams of crack cocaine in violation of Title 21,

United States Code, Sections 841(a)(1) and 841(b)(1)(B) and Title 18, United States Code, Section

2.

       On July 30, 2007, a jury trial commenced against both defendants. On the second day of the

jury trial, the court declared a mistrial after a juror was observed nodding off and the bailiff

reported that the juror stated she gets tired after sitting for extended periods of time. The jury trial

was re-scheduled for October 22, 2007 and then re-scheduled to October 23, 2007. This date

remains in effect.

       On August 7, 2007, the grand jury returned a superseding indictment against both

defendants alleging in count one that Cornelius and Castillo conspired to distributed more than fifty
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grams of crack cocaine, possessed with intent to distribute more than five grams of crack cocaine in

violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A), 846, and Title 18,

United States Code, Section 2, in count two that Cornelius and Castillo possessed with intent to

distribute more than five grams of crack cocaine in violation of Title 21, United States Code,

Sections 841(a)(1) and 841(b)(1)(B) and Title 18, United States Code, Section 2 and in count three

that Castillo possessed with intent to distribute more than five grams of crack cocaine in violation

of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B) and Title 18, United States

Code, Section 2. The net effect of the superseding indictment was to add an additional charge

against both defendants, (Superseding indictment count 1), and to add Castillo to the count that

Cornelius had been charged with in the original indictment, (Superseding indictment count 2).

       At the defendants’ arraignment on the superseding indictment, both defendants objected to

the superseding indictment on the basis of vindictive prosecution. Both defendants have promptly

filed motions to dismiss the superseding indictment, and both have requested evidentiary hearings.

       On September 7, 2007, this court found that the defendants’ presented a “colorable basis”

that the superseding indictment was the result of prosecutorial vindictiveness, see United States v.

Cooper, 461 F.3d 850, 856 (7th Cir. 2006), and therefore the court granted the defendants requests

for grand jury transcripts and the statements of cooperating witnesses. The court also provided the

defendants the opportunity to supplement their motions for evidentiary hearings based upon

information contained in this new discovery. (Docket No. 76.) Castillo has supplemented his

motion. Cornelius failed to supplement his motion but nonetheless filed a reply. This filing is

inconsistent with the court’s order and potentially prejudicial to the government in that it provides

Cornelius the opportunity to raise arguments without providing the government any opportunity to

respond. Further, in light of the fact that Cornelius failed to file an initial brief, the government did

not respond. Absent a government response, there is no reason to reply. However, having received

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no objection to Cornelius’ improper reply, the court shall accept it. The pleadings on these motions

are closed and ready for resolution.

MOTION TO DISMISS FOR VINDICTIVE PROSECUTION

       “The Fifth Amendment has been interpreted to prohibit the government from prosecuting a

defendant because of some specific animus or ill will on the prosecutor’s part, or to punish the

defendant for exercising a legally protected statutory or constitutional right.” United States v.

Benson, 941 F.2d 598, 611 (7th Cir. 1991) (citing United States v. Goodwin, 457 U.S. 368, 372,

(1982); United States v. DeMichael, 692 F.2d 1059, 1061-62 (7th Cir. 1982); United States v.

Adams, 870 F.2d 1140, 1145 (6th Cir. 1989)). “To be entitled to a hearing on a claim of vindictive

prosecution, the defendant must offer sufficient evidence to raise a reasonable doubt that the

government acted properly in seeking the indictment.” United States v. Heidecke, 900 F.2d 1155,

1160 (7th Cir. 1990) (citing United States v. Napue, 834 F.2d 1311, 1329 (7th Cir. 1987)). “To

create reasonable doubt regarding prosecutorial motivations before trial, the defendant ‘must

affirmatively show through objective evidence that the prosecutorial conduct at issue was motivated

by some form of prosecutorial animus, such as a personal stake in the outcome of the case or an

attempt to seek self-vindication.’” United States v. Cooper, 461 F.3d 850, 856 (7th Cir. 2006)

(quoting United States v. Falcon, 347 F.3d 1000, 1004 (7th Cir. 2003)). A lower standard applies

when a defendant seeks only discovery regarding the government’s motive for obtaining an

indictment. Id. at 1159. When a defendant simply seeks discovery regarding the government’s

motivation, the defendant must present a “colorable basis” to conclude that the government acted

with an improper vindictive motive. Id. “A colorable basis is some evidence tending to show the

essential elements of the claim.” Id. (citing United States v. Mitchell, 778 F.2d 1271, 1277 (7th Cir.

1985); United States v. Berrios, 501 F.2d 1207, 1211 (2d Cir. 1974)).




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          “[A] prosecutor's pretrial decisions, including the choice to seek increased or additional

charges, are presumed valid.” Falcon, 347 F.3d at 1004. However, there may be certain limited

circumstances, particularly when a prosecutor acts following a trial, where a defendant may be

entitled to a presumption of vindictiveness. Id. at 1005.

          When this court initially reviewed the defendants’ claims of vindictive prosecution,

essentially the only evidence of vindictiveness the defendants presented was the timing of the

superseding indictment and specifically the fact that it came soon after a mistrial was declared. If

the defendants’ motions came in the pretrial stage and after the defendants’ exercise of procedural

rights, suspicious timing alone would be insufficient to indicate prosecutorial animus. Id. However,

the court must view differently a prosecutor’s actions that come following the initiation of a jury

trial that resulted in a mistrial. Therefore, the court granted the defendants’ motions for discovery.

In so doing, the court rejected the defendants’ claims that they were entitled to dismissal of the

indictment based upon the facts presented. The court simply permitted the defendants to obtain

additional discovery in order to evaluate whether any additional facts existed to support their

claims.

          In the parties’ subsequent submissions, additional facts have been presented. According to

the government, on the morning of the trial in this matter, government counsel advised Judge Randa

that, in preparation for trial, additional evidence and witnesses had been uncovered, but due to the

late discovery, the government would not seek to introduce most of this new information. (Docket

No. 80 at 2.) After the issue with the dozing juror developed, counsel for Castillo, in a discussion

with the attorney for the government, raised the possibility that a mistrial may result in the

government seeking a superseding indictment based upon its newly discovered evidence. (Docket

No. 80 at 3.) Nonetheless, the defendants, not the government, moved for a mistrial. (Docket No. 80




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at 3.) And, when Judge Randa sought to reschedule the trial for merely six days later, it was the

defendants who objected. (Docket No. 80 at 3.)

          The court notes that Cornelius’s attorney states in his reply that, prior to the mistrial, the

government never told defense counsel that it had additional evidence. (Docket No. 87 at 3.) As

indicated earlier, counsel for the government states this was presented to Judge Randa on the

morning of trial, so whether or not the matter was again discussed at the time of the mistrial motion

is of no moment.

          The facts presented now in this case do not indicate any degree of vindictiveness on the

government’s part. Rather, it appears that the government uncovered additional witnesses and

evidence in advance of the first trial but was unable to utilize it because of the late discovery.

However, when fortuitously presented with the opportunity to obtain a superseding indictment as a

result of the defendants’ request for a mistrial, combined with the defendants’ objections to a

prompt retrial, the government chose to utilize its newly discovered evidence.

          When events beyond the government’s control present the government with an unexpected

opportunity to more fully prosecute a defendant for the crimes it has probable cause to believe the

defendant committed, the government need not be restrained from exercising its prosecutorial

discretion simply because it might be claimed that the action appears vindictive. The defendants

have failed to present evidence that the government’s actions were in fact vindictive and therefore,

the court shall recommend that the defendants’ motions to dismiss the superseding indictment be

denied.

CASTILLO’S MOTION TO SUPPRESS

          Castillo seeks suppression of evidence obtained from a residence located at 1558 W.

Windlake on the basis that the police entered the residence without a lawful basis. (Docket No. 79

at 1.) The government challenges the defendant’s motion as untimely. (Docket No. 84.) Castillo

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replies that he has established good cause for failure to timely file the present motion because his

“standing” to bring such a motion was at issue previously. Then, at the pre-motion conference

required by Crim. L.R. 12.3, the parties stipulated as to Castillo’s standing to bring the motion.

(Docket No. 85 at 1.) Second, Castillo argues that he should be permitted to file an untimely motion

because the government was permitted to disclose certain witnesses late. (Docket No. 85 at 2.)

Further, Castillo argues that the motion to suppress is appropriate because the new conspiracy

charge involves all of the drugs found in the residence and not just the drugs found in a particular

bedroom. (Docket No. 85 at 2.)

       On January 12, 2007, this court ordered that all of Castillo’s pretrial motions be filed no

later than February 1, 2007. (Docket No. 8.) On January 29, 2007, Castillo filed four pretrial

motions. (Docket Nos. 11-14.) On February 12, 2007, the government responded, (Docket Nos. 16-

18), and on February 13, 2007, Castillo replied, (Docket Nos. 20-21). On February 15, 2007, this

court entered an order resolving Castillo’s motions. (Docket No. 24.) Under Federal Rule of

Criminal Procedure 12(e), “[a] party waives any Rule 12(b)(3) defense, objection, or request not

raised by the deadline the court sets under Rule 12(c) or by any extension the court provides. For

good cause, the court may grant relief from waiver.”

       The court finds that Castillo has failed to demonstrate good cause for his untimely motion to

suppress. Therefore, the court shall deny Castillo’s request for an evidentiary hearing and

recommend that his motion to suppress be denied. The court specifically stated during the

defendants’ arraignment on the superseding indictment that the motion schedule established applied

only to new motions that could not have been brought prior to the superseding indictment.

Castillo’s motion to suppress clearly could have been brought in accordance with the initial motion

schedule that was established in this case, and therefore the motion is untimely.




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       The court is not persuaded by the Castillo’s argument that his standing to bring a motion to

suppress was somehow at issue prior the superseding indictment. Castillo alleges it was only during

the required conference pursuant to Criminal L.R. 12.3 that the government stated it was willing to

stipulate to Castillo’s standing to bring a motion to suppress evidence recovered from the Windlake

residence. Notably, however, Castillo does not allege that there was ever a Rule 12.3 conference, or

in fact any discussion between the parties, prior to the initial deadline for filing motions, where the

government disputed Castillo’s standing to bring such a motion. If the defendant had sought to

bring the present motion at the appropriate time and in accordance with the earlier briefing

schedule, there is absolutely no reason to believe that the government would not have stipulated to

the defendant’s standing during a Rule 12.3 conference conducted at that time. And if the

government refused to stipulate, the absence of a stipulation is certainly not good cause to fail to

bring a motion. The absence of a stipulation would simply mean that Castillo would be required to

prove the threshold element of standing in addition to any substantive facts in order to obtain

suppression.

       Second, the court finds no merit in Castillo’s argument that the addition of the conspiracy

charge in the superseding indictment somehow affected Castillo’s ability or interest in bringing the

present suppression motion. As Castillo notes, he was previously charged only with the drugs found

in a particular bedroom in the residence whereas now, by way of the conspiracy charge, he is

charged with all the drugs found in the house. (Docket No. 85 at 2.) Even though more rooms are

involved, the challenged actions of the police are the same. In other words, the police discovered

the drugs in the bedroom as a result of the same actions that led them to discover all of the other

drugs in the house. (See Docket No. 79 at 2-3.) This means that the challenge the defendant would

have raised to the propriety of the search that recovered the drugs in the bedroom is essentially the

same as the challenge he attempts to raise now, i.e. alleged illegal entry to the residence. Further,

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there is no merit to any argument that Castillo was somehow not motivated to previously seek

suppression of the evidence recovered. The drugs recovered in the bedroom constituted the

government’s case against Castillo; thus, suppression would have most likely resulted in a dismissal

of all charges against Castillo. Therefore, if there was any merit to a motion to suppress, Castillo

was required to have brought the motion earlier.

        IT IS THEREFORE RECOMMENDED that the defendants’ motions to dismiss the

indictment, (Docket Nos. 68; 69), be denied.

        IT IS FURTHER ORDERED that Castillo’s request for an evidentiary hearing, (Docket

No. 79), is denied.

        IT IS FURTHER RECOMMENDED that Castillo’s motion to suppress, (Docket No. 79),

be denied.

        Your attention is directed to 28 U.S.C. § 636(b)(1)(B) and (C) and General Local Rule 72.3

(E.D. Wis.), whereby written objections to any recommendation herein or part thereof may be filed

within ten days of service of this recommendation. Objections are to be filed in accordance with

the Eastern District of Wisconsin's electronic case filing procedures. Courtesy paper copies of any

objections shall be sent directly to the chambers of the district judge assigned to the case. Failure to

file a timely objection with the district court shall result in a waiver of your right to appeal.


                Dated at Milwaukee, Wisconsin this 26th day of September, 2007.


                                                        s/AARON E. GOODSTEIN
                                                        U.S. Magistrate Judge




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